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 1                                      PROOF OF SERVICE
 2   On the date set forth, I served the foregoing document(s) described as:
 3   1. OPPOSITION PLAINTIFF TAFTS OPPOSITION TO DEFENDANT
 4      BARRESI’S EX PARTE APPLICATION TO RESTRAIN re: EX PARTE
 5      APPLICATION for Temporary Restraining Order as to Plaintiff. (Attachments:
 6      # 1 Exhibit Affidavits of Licensed Private Investigators, Texts, Certified
 7      Transcription, Notarized Declarations of Witnesses, Emails) (Entered:
 8      03/26/2025)
 9      BY NOT MORE THAN 30 DAYS; via Mail and Email, Local Rules, (L.R. 5-
10       3), on the interested parties in this action as follows:
11   MELISSA Y. LERNER
     MEGAN MALLONEE
12   Attorneys for Defendant PAUL BARRESI
13   By Mail:
     LAVELY & SINGER PROFESSIONAL CORPORATION
14
     ATTORNEYS AT LAW
15   2049 CENTURY PARK EAST, SUITE 2400
16   LOS ANGELES, CALIFORNIA 90067-2906
     By Electronic Service:
17   mlerner@lavelysinger.com, mmallonee@lavelysinger.com
18   [X] BY FEDERAL EXPRESS: I am “readily familiar” with the practice of
     collection and processing correspondence for Federal Express. Under that practice
19   it would be deposited with FedEx on that same day with all costs fully prepaid in
20   the United States, in the ordinary course of business.
     [X] ELECTRONIC SERVICE: I served the on the parties listed via electronic
21
     service in accordance with the applicable rules (Local Rule 5-3).
22
     Dated: March 26, 2025
23
24
25
     Christina Taft in Propria Persona
26
     United States
27
28      _______________________________________________________________________________________________
                                                      1
            PROOF OF SERVICE EXTENDING TIME TO SERVE DEFENDANT ADAM WALDMAN FRCP 6(b)
